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 7
                                UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
 9
     In re Google RTB Consumer Privacy                CASE NO. 4:21-cv-02155-YGR-VKD
10   Litigation,

11                                                    JOINT STIPULATION AND [PROPOSED]
                                                      ORDER RE CLASS CERTIFICATION
12                                                    MOTION AND CASE SCHEDULE
     This Document relates to: all actions.
13
                                                      Civil L.R. 6-1(b); 6-2(a)
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19          WHEREAS, under the current pretrial schedule, plaintiffs’ motion for class certification is

20 due to be filed on May 23, 2023 (ECF No. 391); and

21          WHEREAS, there is no date in the current schedule for a hearing on the motion for class

22 certification and no trial date has been set (ECF No. 391); and

23          WHEREAS, on April 14, 2023, the Court issued four discovery orders requiring Google to

24 search for and produce additional named plaintiff data that plaintiffs contend is relevant to the class

25 certification motion (ECF Nos. 481, 483, 485, 487); and

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     JOINT STIPULATION AND [PROPOSED] ORDER RE
     CLASS CERT. MOTION AND CASE SCHEDULE
                                                                                   4:21-CV-02155-YGR-VKD
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 1          WHEREAS, on April 25, 2023, Google informed plaintiffs that it cannot complete its

 2 production of additional named plaintiff data called for by the Court’s four discovery orders until

 3 May 26, 2023; and

 4          WHEREAS, on May 16, 2023, the Court issued a further discovery order requiring Google

 5 to investigate and then produce additional named plaintiff data that plaintiffs contend is relevant to

 6 the class certification motion, and to report back to the Court by May 24, 2023 as to the status of

 7 Google’s investigation for this additional data and a timeline for when it can be produced (ECF No.

 8 510); and

 9          WHEREAS, in light of Google’s ongoing productions of additional named plaintiff data and
10 uncertainty at this time as to when these productions can be completed, the parties agree that it is

11 not practicable to require plaintiffs to file their class certification motion on May 23, 2023 and that,

12 subject to Court approval, the current motion deadline should be vacated; and

13          WHEREAS, the parties are in agreement on the parameters of a new case schedule, subject
14 only to a determination as to when Google can complete its productions of additional named plaintiff

15 data; and

16          WHEREAS, the parties are also in agreement that any dispute as to discovery limitations
17 that may be requested or imposed in connection with a new case schedule will be preserved and

18 addressed when a new case schedule is submitted to the Court.

19          NOW, THEREFORE, the parties stipulate as follows, subject to Court approval:
20          1. The May 23, 2023, deadline for plaintiffs to file their motion for class certification shall
21              be vacated;
22          2. By May 25, 2023, the parties shall submit a new pretrial case schedule for the Court’s
23              consideration;
24          3. Any new schedule submitted by the parties will maintain the time intervals proposed in
25              the pending administrative motion (ECF No. 492), with plaintiffs’ class certification
26              motion due seven weeks after the completion of Google’s document productions;
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     JOINT STIPULATION AND [PROPOSED] ORDER RE CLASS CERT. MOTION AND
     CASE SCHEDULE                                              Case No. 4:21-cv-2155-YGR-VKD
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 1         4. Any dispute about discovery limitations that should accompany the new pretrial case

 2             schedule will be addressed by the parties in a joint submission accompanying the new

 3             proposed case schedule.

 4   SO STIPULATED.

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 6   Dated: May 18, 2023

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      PRITZKER LEVINE LLP                              COOLEY LLP
 8
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     JOINT STIPULATION AND [PROPOSED] ORDER RE CLASS CERT. MOTION AND
     CASE SCHEDULE                                              Case No. 4:21-cv-2155-YGR-VKD
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 1                                       [PROPOSED] ORDER

 2         Having considered the parties’ stipulation, the Court orders as follows:

 3         1.     Plaintiffs’ pending administrative motion (ECF No. 492) is denied as moot.

 4         2.     The deadline for plaintiffs to file their motion for class certification is vacated.

 5         3.     The parties shall jointly submit a new proposed pretrial case schedule by May 25,

 6                2023 that maintains the time intervals proposed in ECF No. 492, with plaintiffs’ class

 7                certification motion due seven weeks after the completion of Google’s document

 8                productions;

 9         4.     If the parties have a dispute about whether any discovery limitations should be
10                imposed in connection with the new pretrial case schedule, they shall be addressed
11                by the parties in a joint submission not to exceed 3 pages per side that accompanies
12                the new proposed case schedule.
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14 SO ORDERED.

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16 Dated: __________,
          May 19      2023
                                                      Hon. Yvonne Gonzalez Rogers
17                                                    United States District Court Judge
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     JOINT STIPULATION AND [PROPOSED] ORDER RE CLASS CERT. MOTION AND
     CASE SCHEDULE                                              Case No. 4:21-cv-2155-YGR-VKD
